Case 1:18-cr-20613-JEM Document 45 Entered on FLSD Docket 02/07/2019 Page 1 of 2



                              UNITEb STATES DISTRICT COURT
                             SO U TH ER N D ISTR ICT O F FL O R ID A

                            CA SE N O .18-20613-C R-M A R T1N EZ/AO R


 UNITED STATES OF AM ERICA,




 SA M U EL BA PTISTE,

        Defendant.



                                                     ORDER
                                           .'
       THIS M ATTER camebefofetheCoul't)upqn DefendafltSainuelBaptiste's(tcDefendanf')
                                                      ,

                                   . !'    ..   )'


UnopposedM otionforFarettaHegring (D.E.351.Thismatterwasrefen'edtotheundersignedby
the Honorable Jose E.M artinez,United StatesDistrictJudge,pursuantto 28 U.S.C.Section 636

and theM agistrateRulesforthe Southern DistrictofFlorida.

       The undersigned held a Faretta hearing on February 6,2019. B ased on the colloquy held

w ith Defendant,the undeysigned determined that,rather than allowing Defendantto represent
 '      .           .
  .

him selfwith a11the risksthatsuch a decision would entail,a bettercourqe ofaction would be to
            .   .                     t.

appointsubstitutecounselpursuantto!heCriminalJusticeAct(:(CJA''). Defendantthen agreed
to w ithdraw hisrequestto proceed plp se.

       Therefore,itis ORDERED AND XDJUDGED,thatT.OmarM alone,Esq.is hereby
                        :    '                  '
                                                ,         ',            ..

APPOINTED as CJA counselto representDefendantand that the FederalPublic Defender is

hereby DISCH ARGED ascounselG rDefendant.
Case 1:18-cr-20613-JEM Document 45 Entered on FLSD Docket 02/07/2019 Page 2 of 2




       DONE AND ORDERED this       day ofFebruary,2019.


                                             -            U ''*
                                   A LICIA M .OTAZO - YES
                                   U N ITED STA TES M A GISTR ATE JU D G E

 cc: H onorable Jose E.M artinez
     Counselofrecord
